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                        IN THE UNITED STATElDISTRICT COURT                  FILED BY               D.C.
                       FOR THE SOU TH ERN D ISTR ICT O F FLO RID A
                            GENEM L JURISDICTION DIVISION                         AIJc 07 26123
                                                                                   X7'
                                                                                   u JlX?Ll
 M A U RICE SYM ON ETTE and M A CK W ELLS,                                         ST
                                                                                    ..o,u.zz-
                                                                                      .   - t
        Plaintiffs,

                                                    CA SE N O .:23-22640-Civ-M A RTlN EZ

 U .S.BAN K NATION AL,Tnlstee,et.al.
       D efendants.


                             JURISD ICTION A L M EM O RAN D U M

        COM ES,Plaintiffs,M AU RICE SY M ON ETTE and M A CK W ELLS,pro se litigants,to

 entertheir tim ely m em orandum and response to this Court's order of A ugust3,2023 to answ er

 the question posed by the Courtas to why this Courtshould notdismiss this case under the

 Younger abstention doctrine,Rooker-Feldm an doctrine,or both.The Plaintiffs respond in the

 negativeto thatquestion asto itshould notaspointed outbelow.

 Sum m aa OfThe M atter

        This action stem s from a case in the State CircuitCourtofFlorida w hich originates from

 the foreclosure initiated by DefendantU .S.Bank National,who servesastrustee ofthe REM IC

 which allegedly holdsthe note and m ortgage thatthe foreclosure below is based upon.The initial

 mattercommenced againstthe subjectproperty in 2010 and hassinceseen atinaljudgmentof
 foreclosure entered which hasbecom e finaltmderFlorida law.the Plaintiffs,who are the title

 holdersofthepropertycurrently,havefiledarlappealwhichhasaftirmedthefinaljudgment,and
 atvariouspointssoughtpostjudgmentreliefunderFla.R.Civ.P.1.540 which givesthe State
 courtsofFloridalimitedjurisdiction toentertainpostjudgementclaimsand ismodeled afterthe
 FederalRuleofCivilProcedure60(b),a11tonoavail.Sothereliefwhichmaybeavailableunder
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 state law has long passed with the exception of asserting certain equitiesofredemption in this

 matter.Itiswellestablishedthattheently ofafinaljudgmentinFloridadiveststhecourtsofthe
 ability to amend a complaintorenter a counterclaim satthatpointasleave ofthe courtsbelow

 would be necessary and the courtin question no longermaintainsjurisdiction exceptforthe
 enforcementofthe finaljudgmentand itsvariousotherorders.ThePlaintiffscommenced this
 action undertheprinciplesto seek redressand relieffrom players related to theforeclosure,but

 notnecessarily nam ed in the foreclosure.M ore specifically,withoutaddressing any aY rm ative

 defenses thatthe Defendants m ay raise on itown,the courtshould take the pro se plead and

 construe itliberally and remain within itsGtfourcorners''and acceptthe allegationsastrue in its

 exnminationofthequestionithasposedtothePlaintiffsregardingthejurisdiction.
        The Plaintiffseeks redressof certain state actors below for theirconductin the ofticial

 capacitiesasemployeesorarmsoftheStateofFloridapursuantto28U.S.C.51943oritsfederal
 equivalent.ln addition,theAm ended complaintalso presentsfederalquestionswhich are raised

 againstrem aining the defending parties which could notbe added to the action below due in a

 counterclaim due to the entry ofthe finaljudgmentdivesting the courtthere ofjurisdiction.
 Simply put,thePlaintiffshasexercised theirchoice offorum in the federalcourtto seek redress

 oftheclaim sm ade.

 JURISDICTIONAL OUESTION

 Aspresented by the Court,the question seeking responseisreplzrased asfollows:

               W HETH ER TH IS COU RT SH OU LD DISM ISS TH IS CA SE
               UNDER THE YOUNGER ABSTENTION DOCTRINE,
               RO OK ER-FELDM AN D O CTRIN E.O R BO TH ?
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        ThePlaintiffrespondsthatthismattershould notbe dismissed in underthesedoctrinesas

 they arenotimplicated norareapplicable in the instantm atterwhen am ore fulsome analysisis

 com pleted.

 Y OUN GER A BSTEN ATION D OCTIU N E

        In the m ain, federal courts are obliged to decide cases w ithin the scope of federal

 jurisdiction.Abstentionisnotinordersimply becauseapendingstate-courtproceedinginvolves
 thesamesubjectmatter.New OrleansPublicService,Inc.u Counciltp
                                                             /CDly ofNew Orleans,491
 U.S.350,373,109 S.Ct.2506,105L.Ed.2d298 (1989)((tNOPS1)(çt(T1hereisnodoctrinethat.
   pendency ofstatejudicialproceedingsexcludesthefederalcou14s.'').TheU.S.SupremeCourt
 hasrecognized,however,certain instances in which theprospectofundueinterferencewith state

 proceedings counsels against federalrelief.See id.,at 368, 109 S.Ct.2506, 105 L.Ed.2d 298.

 Youngerv.Harris,401U.S.37,91S.Ct.746,27L.Ed.2d 669 (1971)exemplifiesoneclassof
 cases in w hich federal-court abstention is required, when there is a parallel, pending state

 criminalproceeding,federalcourtsmustrefrain from enjoining thestateprosecution.TheHigh
 Court has extended Younger abstention to particular state civil proceedings that are akin to

 criminalprosecutions,seeHuffmanv.Pursue,Ltd.,420 U.S.592,95 S.Ct.1200,43 L.Ed.2d
 482(1975),orthatimplicateaState'sinterestinenforcingtheordersandjudgmentsofitscourts,
 seePennzoilCo.v.Texaco Inc.,481U.S.1,107 S.Ct.1519,95L.Ed.2d 1(1987).W ehave
 cautioned,however,thatfederalcourtsordinarily should entertain and resolve on the m eritsan

 action within the scope ofajurisdictionalgrant,and should not(Grefusgelto decide a case in
 deferencetothe States.''NOPSL 491U .S.,at368,109 S.Ct.2506,105 L.Ed.2d 298.
        Circum stances fittirlg w ithin the Younger doctrine,the Suprem e Courthas stressed,are

 Gtexceptional''5
                ' they include, as catalogued in N OPSI, Cûstate crim inal prosecutions,'' EEcivil
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 enforcem entproceedings,''and Gtcivilproceedingsinvolving certain ordersthatare uniquely in

 furtheranceofthestatecourts'abilitytoperform theirjudicialftmctions.''Id.,at367-368,109S.
 Ct.2506,105 L.Ed.2d 298.In the absence ofthese circum stances that Courthas ranked as

 ûtexceptional,''thegeneralrule governs,çtg-flhependency ofanactionin rajstatecourtisnobar
 to proceedingsconcerning thesame matterin the Federalcourthavingjurisdiction.''Colorado
 R iver Water Conservation D ist.v.United States,424 U .S.800,817,96 S.Ct.1236,47 L.Ed.2d

 483 (1976)(quoting Mcclellan v.Carland,217 U.S.268,282,30 S.Ct.501,54 L.Ed.762
 (1910:. Younger abstention is appropriate only when the parallel state proceedings are
 E&coerciven''ratherthan ûiremedialr''innature.690F.3d 864,868(2012),
                                                                    'cf.Guillemard-Ginorio
 v.Contreras-Gomez,585 F.3d 508,522 (CAI2009)(tdlplroceedingsmustbecoercive,and in
 mostcases,state-initiated,inordertowarrantabstention.').OneCircuitCourqtheEighthCircuit
 read thisCourt'sprecedentto require Youngerabstention wheneverGian ongoing statejudicial
 proceeding . . . im plicates im portant state interests, and . . . the state proceedings provide

 adequateopportunity to raise (federaljchallenges.''690 F.3d,at867 (citingM iddlesex Cbl/a/.
                                                                                           ,
                                                                                           p
 Ethics Com m.v.Garden State BarAss'
                                   n,457 U .S.423,432, 102 S.Ct.2515,73 L.Ed.2d 116

 (1982:.TheSupremeCourt'sdominantinstruction isthat,even inthepresenceofparallelstate
 proceedings,abstention from theexerciseoffederaljurisdiction isthettexception,nottherule.''
 HawaiiHousing Authority &!M idk? 467 U.S.229,236,104 S.Ct.2321,81 L.Ed.2d 186
 (1984)(quotingColoradoRiver,424U.S.,at813,96 S.Ct.1236,47L.Ed.2d483).
        H ere,the non-applicability of the first tw o prongs are evident.The proceeding below is

 not a crim inalproceeding im plem ented by the state nor is akin to a state crim inalproceeding.

 Theonly rulewhich m ay be applicable hereisthe third extraordinary exception underYounger,

 dtan ongoing statejudicialproceeding ...implicatesimportantstateinterests,and ...thestate
r
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     proceedingsprovide adequate opportunity to raise gfederaljchallenges.''Thereisno doubtthat
     thestateproceedingisongoingtotheextentthatthefinaljudgmentisseekingtobeenforcedand
     theenforcementofthejudgmentdoespotentialimplicate somecompellingstateinterest.W here
     the doctrine fails is in the adequate opportunity to raise federalchallenges.As previously stated,

     the ability to addthecounterclaim ceasesattheentl-y ofthefinaljudgment.Assuch,therewas
     notan adequate opportunity to raisethe federalquestionsatthe tim e they were discovered with

     the reasonable diligence that was required below.as the exhibits to the complaint show,the

     financialdisclosureformsofthevariouspresidingjudgeswerenotmadeavailableuntil2021in
     which the conflictsexisted and thatconstitutes new evidence which did notexistatthe tim e of

     theforeclosurefinaljudgmententry on December 19,2017.ltisalso beyondthe one(1)year
     period underFla.R.Civ.P.1.540(b)to bring a limited challengeto a finalorderwllich was
     affirmedon appealN ov.9,2018.Accordingly,theYoungerAbstention Doctrineisnotapplicable

     here.



     RO CKER FELD M AN D O CTRIN E
          TheRooker-Feldm an doctrinebarspartiesthathave lostin state courtfrom filing suitin

     federaldistrictcourtsforthepurposeofobtaining review oftheadversestate-courtjudgments.
     Rookerv.Fidelity TrustCo.,263 U.S.413,44 S.Ct.149,68L.Ed.362 (1923);D.C.Courtof
     Appeals v.Feldman,460 U.S.462,103 S.Ct.1303,75 L.Ed.2d 206 (1983);Johnson v.De
     Grandy,512 U.S.997,1005-06,114 S.Ct.2647,129 L.Ed.2d 775 (1994)(Rooker-Feldman
     prevents an tm successful state-courtparty ''from seeking what in substance w ould be appellate

     review ofthestatejudgmentinaUnitedStatesdistrictcourt,basedonthe
     losingpalty'sclaim thatthestatejudgmentitselfviolatestheloser'sfederalrights'').Assertions
     ofinjury thatdo notimplicatestate-courtjudgments are beyond the purview ofthe Rooker-
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 Feldman doctrine.SeeMccormickM Braverman,451F.3d 382,392-93(6th Cir.2006)(holding
 Rooker-Feldman inapplicablebecausethe plaintiffdidnotattack the state-courtjudgmentsbut
 ''assertledjindependentclaimsthatthosestatecourtjudgmentswere (improperlyjprocuredby''
 thedefendantsl;Todd v.Weltman,Weinberg,& Reis Co.,L.PA.,434 F.3d432,436-37 (6th Cir.
 2006)(holding Rooker-Feldman nottriggered becausethe plaintiffdid notallegethathe was
 injured by the state-courtjudgment,butinstead filed an independentfederalclaim thathe was
 injuredbythedefendant'sfiling ofafalseax davitinthestate-courtproceeding).
        The answ er to dism issal under this doctrine is very sim plistic indeed. The Plaintiffs,

 albeitthrough avoluminouscomplaint,soughtto obtain redressand relieffrom the CONDUCT

 of the players in obtaining the judgment.They did not attack the judgment directly.The
 allegations of conflicts ofinterestand violations ofthe federallaws,which are superiorto the

 state laws in the hierarchy of the A m erican legal schem e,goes to the heart of how the final

 judgementwasobtainedintheStatecourtandthusgoestotheheartofthematter.Thecollateral
 attack which waslaunched here definesthe contlictsand unlawfulconductwhich those players

 resorted in orderto obtain thejudgementand deprivethe Plaintiffsoftheirproperty tmderthe
 color of 1aw and w ithout due process of 1aw w hich is required under the United States

 Constitm ion's 14t
                  h nm endm ent. So, it is without question that the claim s m ade, which are

 properly directed at the conduct of the Defendants, are precluded from the purview of the

 Rocker-Féldm an Doctrinehere.

                                        C ON CLU SION

        A sstated above,the instantaction should be allow ed to be m aintained in this Courtasthe

 Younger Abstention D octrine is notapplicable because the firsttw o extraordinary exceptions do

 notapply and the third exception did not afford the adequate opportunity to raise the challenges
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 due to the evidence of the contlict notbeing discovered until disclosures were completed in

 2021.Likewise,Rocker-Feldman doesn't apply due to the claim being relief directed atthe

 conductoftheDefendantsinhow thefinaljudgementofforeclosurewasprocured,andnotatthe
 judgmentitself.Accordingly,theaction shouldbemaintainedandnotdismissed.

 Respectfully Submitted,                                           .

                                                     ?'
                                                     .
 /s/     .                                /s/       '                  .
              M ack W ells                                M a lc ym o ette
